            Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 1 of 13




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


     AKBAR LAKESTANI,

                               Plaintiff,

                    v.

     THE ISLAMIC REPUBLIC OF IRAN;

     SEYED ALI HOSSEINI KHAMENEI, The Supreme
     Leader of the Islamic Republic of Iran;

     THE ISLAMIC REVOLUTIONARY GUARD                           Case #: 1:21-cv-2232
     CORPS; and

     HOSSEIN SALAMI, Commander-in-Chief of the
     Islamic Revolutionary Guard Corps,

     c/o Ministry of Foreign Affairs
     Khomeini Avenue,
     United Nations Street
     Tehran, Iran

                               Defendants.




                                               COMPLAINT

1.        Plaintiff, Mr. Akbar Lakestani, by and through his undersigned counsel, brings suit against

          Defendants the Islamic Republic of Iran, Supreme Leader Seyed Ali Hosseini Khamenei,

          the Islamic Revolutionary Guard Corps (“IRGC”), and IRGC Commander-in-Chief

          Hossein Salami (collectively “Defendants”) under the Foreign Sovereign Immunities Act,

          28 U.S.C. §§ 1602 et seq. (“FSIA”), for severe personal injuries and other irreparable harm

          suffered as a result of Defendants’ unlawful acts of torture, hostage taking, and other torts

          against Plaintiff.

                                            JURISDICTION AND VENUE

2.        This Court has jurisdiction over this matter and over Defendants pursuant to

          28 U.S.C. §§ 1330(a), 1330(b), 1331, 1332(a)(2) and 1605A(a)(1), which create subject

          matter jurisdiction and personal jurisdiction for civil actions for personal injuries against

          State Sponsors of Terrorism and their officials, employees, and agents.

3.        28 U.S.C. § 1605A(c) provides a federal private right of action against a foreign state that

          is or was a State Sponsor of Terrorism, and also against any official, employee or agent of

          that foreign state while acting within the scope of his or her office, employment or agency,


                                                    1
              Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 2 of 13




           for personal injury and related torts.

4.         Venue is proper in this district pursuant to 28 U.S.C. § 1391(f)(4).

                                                           PARTIES

5.         Plaintiff Mr. Akbar Lakestani is a dual national Iranian-American journalist and human

           rights activist. In 2019, Plaintiff was arrested by border patrol law enforcement officers in

           Iran and accused of being in contact with and working for groups in opposition to the

           Iranian regime. During his wrongful arrest and subsequent detention, he was interrogated

           and subjected to torture by Iran and its agents.1

6.         Defendant the Islamic Republic of Iran is a foreign state. Iran is a theocratic republic with

           an elected head of government and a head of state—the Ayatollah or Supreme Leader—

           appointed for life by a council of theologians. The Supreme Leader controls the Guardian

           Council of the Constitution, which interprets the Iranian Constitution, supervises elections

           (including determining which candidates may run), and exercises significant influence over

           the legislative, executive, and judicial branches of government, as well as the military and

           the IRGC.

7.         Defendant Seyed Ali Hosseini Khamenei has been Iran’s Supreme Leader since 1989. He

           was previously the President of Iran from 1981 to 1989. As Supreme Leader, Khamenei is

           the head of state of Iran and the commander-in-chief of its armed forces. For this reason,

           he is considered the most powerful political authority in the country. As Supreme Leader,

           Khamenei can issue decrees and make the final decisions on the main policies of the

           government in fields such as the economy, the environment, foreign policy, and national

           planning within Iran. Khamenei has direct control over the executive, legislative and

           judicial branches of government, as well as the military and media. In 2019, President

           Donald J. Trump imposed secondary sanctions on Khamenei, stating that:

                    “in light of the actions of the Government of Iran…to promote international
                    terrorism…hereby order: Section 1. (a) All property and interests in property that
                    are in the United States, that hereafter come within the United States, or that are or
                    hereafter come within the possession or control of any United States person of the
                    following persons are blocked and may not be transferred, paid, exported,
                    withdrawn, or otherwise dealt in: (i) the Supreme Leader of the Islamic Republic
                    of Iran and the Iranian Supreme Leader’s Office (SLO)”.2

8.         Defendant the Iranian Revolutionary Guard Corps (“IRGC”) is a military organization




1
    United 4 Iran, Akbar Lakestani, https://ipa.united4iran.org/en/prisoner/5327/.
2
    Exec. Order No. 13876, 84 Fed. Reg. 30574 (June. 26, 2019).


                                                            2
           Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 3 of 13




        under the control of the Guardian Council. The IRGC was established in the wake of the

        Islamic Revolution to act as the country’s “ideological custodian” 3 and is generally

        understood to be one of the most reactionary, powerful, and oppressive factions of the

        Iranian Government. The IRGC fields an army, navy, air force, and intelligence service,

        and it conducts foreign operations through its paramilitary arm, the Quds Force. The Quds

        Force has primary responsibility for arming pro-Iranian military groups across the Middle

        East and beyond, and has been designated by the U.S. Department of Treasury as a sponsor

        and supporter of terrorism.4

9.      Defendant Hossein Salami has been the Commander-in-Chief of the IRGC since April

        2019. He has the responsibility of overseeing all methods of torture and interrogation used

        by IRGC security forces. He is personally liable for the acts of IRGC agents in torturing

        Plaintiff.

                                             STATEMENT OF FACTS

10.     Mr. Lakestani was living in the U.S. when he decided to travel to Iran to visit his elderly

        and ill mother. On September 28, 2019, he was traveling through the city of Serow, on the

        border of Turkey and Iran, when he crossed the border into Iran. Upon doing so, his

        passports were checked by Iranian law enforcement officers. While his documents were

        being reviewed, he was informed by the officer in charge that, based on the information in

        their system, he was barred from leaving Iran. He was not given a reason and was told he

        had to look into it himself if he wanted answers.5

11.     These officers confiscated Mr. Lakestani’s passport and asked him to fill out a form with

        information about his travels, including the dates of his previous entries into Iran and his

        reasons for returning. While he was waiting for this form to be processed, plainclothes

        officers arrived, introduced themselves as IRGC officers, and then took Mr. Lakestani into

        custody. These officers tied Mr. Lakestani’s hands behind his back, blindfolded him, and

        told him to be quiet and that he was being taken to be interrogated. They put him into a

        vehicle and drove him to an undisclosed location, though he could gather that it was an




3
  CFR.org Editors, Iran’s Revolutionary Guards, COUNCIL ON FOREIGN RELATIONS (May 6, 2019),
https://www.cfr.org/backgrounder/irans-revolutionary-guards.
4
  U.S. DEP’T OF TREASURY, Sanctions Programs and Country Information, www.treasury.gov/resource-
center/sanctions/Programs/Documents/terror.pdf.
5
  United 4 Iran, Akbar Lakestani, https://ipa.united4iran.org/en/prisoner/5327/.; Kampain, Akbar Lakestani, and
Iranian-American Dual Citizen, was Arrested During His Return to Iran,
https://www.kampain.info/archive/37853.htm.


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              Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 4 of 13




           intelligence agency.

12.        Upon arrival at the undisclosed location, officers removed Mr. Lakestani’s blindfold and

           then forced him to strip down and change his clothing in front of several officers while

           they spoke to him in insulting language. After this invasive and humiliating procedure, he

           was questioned again and then sent to a jail cell for holding overnight where he was denied

           medication for his diabetes.

13.        The following day, Mr. Lakestani was taken to another room where he was shown

           recordings of interviews he had participated in outside of Iran in which he had spoken

           against the Iranian regime. He was then further questioned about his activities and

           transferred back to his cell. After a period of time, he was again cuffed and blindfolded and

           transferred to the Prosecutor’s office, where he was questioned by the Deputy Prosecutor

           along with two non-uniformed officers in attendance, who he was told were from the

           IRGC. The Deputy Prosecutor removed his case to the Urmia Revolutionary Court, and

           Mr. Lakestani was transferred to the Central Prison of Urmia on October 3, 2019.6

14.        Upon arriving to the prison, Mr. Lakestani was handed over to IRGC officers and detained.

           The following day, Mr. Lakestani was taken to an interrogation room and questioned.

           Partway through the interrogation, Mr. Lakestani was blindfolded and questioned by new,

           unidentified individuals about why he had left Iran, who he was working for, and whether

           he was a spy. He was accused of being unpatriotic towards Iran and spying for the United

           States, and was told by one of his interrogators, “your activism is more dangerous than

           armed conflict.” He was told that his case was so serious that if he did not cooperate with

           them and provide a list of all the information he knew about the United States and the

           names of traitors he knew, he could be facing the death penalty. Mr. Lakestani told his

           interrogators that he did not know anything. Even so, he was relentlessly interrogated until

           he burst into tears. His interrogators implicitly threatened that if he did not cooperate with

           them then he would never see his son or daughter again.

15.        While detained, Mr. Lakestani was denied access to his medication for diabetes. As a result

           of both the denial of this medication and being forced to walk without shoes, his feet bled

           so badly that they stained the carpet of his cell. He showed his guards the bloodstains and

           begged for access to his medicine, but his pleas were ignored and he was beaten for being


6
    United 4 Iran, Akbar Lakestani, https://ipa.united4iran.org/en/prisoner/5327/.


                                                            4
            Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 5 of 13




          too demanding. Mr. Lakestani was not permitted to call anyone, including his family, and

          was cut off from the outside world. Eventually he was examined by a doctor in the IRGC-

          controlled prison, who determined that his blood sugar was very high and advised him to

          get back on his medication quickly. The evaluating doctor informed the officers in charge

          of Mr. Lakestani that if he was not given his medication or transferred to a hospital

          immediately, he could be in serious trouble and said, “If you want to interrogate a dead guy

          that’s on you, but I will not accept any responsibility regarding him.” However, even after

          this evaluation, Mr. Lakestani was still not allowed access to his medication.

16.       The following day, the interrogations resumed. Mr. Lakestani was eventually transferred

          to the interrogation office in the sixth branch of the Urmia Revolutionary Court, where he

          was charged with cooperating with anti-regime groups and insulting the Supreme Leader.

          A bail amount of 300 million tomans (approximately $30,000 USD) was set for his

          temporary release prior to court proceedings. He was held in the Urmia Central Prison,

          where he was placed in a hall with prisoners who had been charged with violent criminal

          offenses. Every day, Mr. Lakestani witnessed violent fights breaking out among his fellow

          prisoners involving weapons made of metal pieces from the prison beds. These fights were

          frequently over contraband drugs which were widely available in the prison. Upon arriving

          to the prison, he had most of his belongings stolen from him by other inmates, who told

          him that if he did not keep quiet they would kill him or plant drugs on him to be discovered

          by the authorities, for which he would face the death penalty. He feared for his life.

17.       As a result of the unsafe prison conditions, Mr. Lakestani begged in vain to be placed in

          solitary confinement. Eventually, on October 19, 2019, he began a hunger strike which

          lasted for a total of 14 days.7 In response, the authorities threatened him that if he did not

          end his hunger strike, he would “face bad consequences.” During his strike, he was taken

          by prison guards into the prison yard where executions were performed. Stricken with fear,

          he asked what was happening and why he had been brought into the yard, and he was told

          it was only for him to “take a breath”.

18.       Towards the end of his strike, after 10 days without food and an additional 4 days without

          food or water, Mr. Lakestani’s condition had deteriorated so severely that he fell

          unconscious and was transported to Imam Khomenei Hospital where he was injected with


7
    Id.


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        Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 6 of 13




      glucose. When he was revived, he realized that he had been shackled at the hands and feet

      to his hospital bed. He attempted to speak to the hospital staff and to tell anyone in

      proximity who he was and why he had been brought there, which angered his guards. They

      closed the curtains around his bed and violently beat him, causing a commotion so loud

      that others in the hospital could hear and began to protest.

19.   Mr. Lakestani was then injected with an unknown substance that rendered him unconscious

      and transported to a more secure part of the hospital designated for prisoners. His stay in

      this part of the hospital was in even worse conditions than the IRGC-controlled Urmia

      Prison, with no windows and visible filth and odors. Mr. Lakestani was berated by his

      guards, who called him a “traitor” and “spy” and spit on him. He attempted a second hunger

      strike for two days in protest, but was locked to the bed so tightly that he was unable to

      move.

20.   From Imam Khomenei Hospital, Mr. Lakestani was transferred to Razi Psychiatric

      Hospital, where he was placed in the most dangerous section along with the extremely

      violent and unstable patients, which he believes was done to further break his morale. He

      was given medications that were not prescribed or identified to him by the physicians, and

      which caused him to sleep for much of the time he was detained there.

21.   While at Razi Psychiatric Hospital, his hands were cuffed behind his back in such a way

      that caused severe pain to his shoulder joints, which he still suffers from today. He was

      also cuffed around his feet in such a way that caused his ankles to bleed and to become

      infected. Mr. Lakestani later found out that his doctor at Razi Hospital had written to the

      judge in his case and protested his extraordinary mistreatment, demanding that he be

      transferred to a medical hospital to treat his foot infections. He was eventually transferred

      to Taleghani Hospital for treatment, but was then transferred back to Urmia Prison.

22.   Though Mr. Lakestani’s family had paid the required bail, he was still not released. As

      news of his arrest became more widespread, the Central Prison of Urmia eventually agreed

      to release him on bail after 47 days. However, his family was not notified of his release, so

      Mr. Lakestani was released into the city while still wearing his prison clothes and without

      any of his personal belongings.

23.   During Mr. Lakestani’s period of temporary release on bail, beginning November 13, 2019,

      he was called back for more interrogations in Urmia, including three times to the court,



                                                6
           Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 7 of 13




        two times to the prosecutor’s office, and again after the assassination of General Qasem

        Soleimani.8 He was asked to write something about Soleimani’s death and to condemn the

        U.S. government’s actions in killing him, but Mr. Lakestani refused to do so. He was

        threatened and told that if he did write what he was asked then it could be helpful in his

        case, but he still refused.

24.     On February 9, 2020, Mr. Lakestani fled Iran. He entered Turkey through the land border

        of Bazargan, and then flew to the United States on February 20, 2020. Though he has not

        been formally informed of his sentencing in absentia, his mother’s house, which had been

        put up for his bail, is now in the process of being confiscated by the Iranian government.

                                        COUNT I
                       PRIVATE RIGHT OF ACTION (28 U.S.C. 1605A(c))

25.     Plaintiff incorporates by reference the allegations of the preceding paragraphs.

26.     Iran is a state sponsor of terrorism as described in 28 U.S.C. §1605A(a)(2)(A)(i).

27.     Iran and its agents were acting within the scope of their office, employment, or agency in

        committing the acts alleged herein, including, but not limited to, the hostage taking and

        torture of Mr. Akbar Lakestani.

28.     As a direct and proximate result of the willful, wrongful, intentional, and reckless acts of

        the IRGC and its agents, which were funded and directed by the Islamic Republic of Iran

        and other Iranian government entities, Plaintiff has suffered, inter alia, physical pain and

        suffering, emotional pain and suffering, and economic losses resulting from Defendants’

        acts.

29.     Pursuant to 28 U.S.C. §1605A(c), Plaintiff, who is a national of the United States, may

        assert a cause of action against Defendants for personal injury that was caused by acts of

        hostage taking and torture, or the provision of material support or resources for such acts,

        if performed or provided by an official, employee, or agent of Iran while acting within the

        scope of his or her office, employment, or agency.

30.     Mr. Lakestani became a U.S. citizen on March 13, 2018.

31.     Mr. Lakestani suffers ongoing physical and psychological pain as a direct result of his

        mistreatment by Defendants. This suffering includes post-traumatic stress disorder,

        depression, a sleep disorder, nightmares, and extreme shoulder pain. He receives ongoing


8
  United 4 Iran, Akbar Lakestani, https://ipa.united4iran.org/en/prisoner/5327/.; Kampain, Akbar Lakestani, and
Iranian-American Dual Citizen, was Arrested During His Return to Iran,
https://www.kampain.info/archive/37853.htm.


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             Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 8 of 13




           medical and psychological treatment for this suffering.

32.        Accordingly, as a result of Defendants’ actions, Plaintiff seeks compensatory and punitive

           damages. Plaintiff is asking for One Hundred Million USD ($50,000,000) in compensatory

           damages and Five Hundred Million USD ($300,000,000) in punitive damages.

                                               COUNT II
                                         ASSAULT AND BATTERY

33.        Plaintiff incorporates by reference the allegations of the preceding paragraphs.

34.        “An actor is subject to liability to another for assault if (a) he acts intending to cause a

           harmful or offensive contact with the person of the other or a third person, or an imminent

           apprehension of such contact, and (b) the other is thereby put in such imminent

           apprehension.”9

35.        Under the FSIA, hostage taking and torture constitute assault because “acts of terrorism

           are, by their very nature, intended to harm and to terrify by instilling fear of further harm.”10

36.        Mr. Lakestani was held hostage and tortured by Defendants, resulting in harmful contact

           and fear of such harmful contact.

37.        While in Defendants’ custody, Mr. Lakestani was routinely subjected to harmful and

           offensive contact, including being forcibly moved at gunpoint, beatings, being forcibly

           injected with unknown substances without his consent, and other forms of torture.

38.        Furthermore, while in Defendants’ custody, Mr. Lakestani was frequently threatened with

           harmful and offensive physical contact, including threats of death and dismemberment.

           These threats placed Mr. Lakestani in imminent apprehension of death, torture, abuse, and

           other physical and emotional injuries. He constantly feared for his health and safety.

39.        Plaintiff seeks damages to compensate for his continuous pain and suffering, to be

           calculated at trial.

                                               COUNT III
                                          FALSE IMPRISONMENT


40.        Plaintiff incorporates by reference the allegations of the preceding paragraphs.

41.        “An actor is subject to liability to another for false imprisonment if (a) he acts intending to

           confine the other or a third person within boundaries fixed by the actor, and (b) his act

           directly or indirectly results in such a confinement of the other, and (c) the other is



9
    Restatement (Second) of Torts § 21 (Am. Law Inst. 1965).
10
    Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 76 (D.D.C. 2010).


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              Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 9 of 13




           conscious of the confinement or is harmed by it.”11

42.        The unlawful arrest and imprisonment of Mr. Lakestani by Defendants constitutes false

           imprisonment.

43.        Defendants unlawfully detained Plaintiff in multiple prisons and detention facilities. Mr.

           Lakestani was fully aware of this illegal detention. Furthermore, this illegal detention

           directly caused Mr. Lakestani to suffer physical, psychological, and economic harm.

44.        Plaintiff seeks damages for this count to be calculated at trial.

                                        COUNT IV
                        HOSTAGE TAKING AND TORTURE UNDER THE FSIA

45.        Plaintiff incorporates by reference the allegations of the preceding paragraphs.

46.        The FSIA confers jurisdiction on the courts of the United States and creates an independent

           federal cause of action to recover for injuries sustained as a result of terrorist acts, such as

           hostage taking or torture. Under the statute, Plaintiff must prove that (1) there was an act

           of “hostage taking” or “torture”; (2) the act was committed by the foreign state or “an

           official, employee, or agent of such foreign state”; and that (3) the act “caused” (4)

           “personal injury or death” (5) “for which the courts of the United States may maintain

           jurisdiction under this section for money damages.”12

47.        Seizing an individual in an effort to extract information from him to be used against him

           and others constitutes hostage taking within the definition upon which the FSIA relies.

48.        Mr. Lakestani was seized by Defendants’ agents and detained while under their full control

           and in their physical custody. During this time, Mr. Lakestani was detained without due

           process. For example, he was denied access to legal counsel.

49.        There is significant and compelling evidence that Defendants tortured Mr. Lakestani to

           compel him to present forced and falsified testimony against himself and other political

           activists.

50.        Mr. Lakestani’s prolonged detention and torture resulted in physical injuries, including

           extreme pain to his feet and shoulders. This pain was so severe that his feet bled and became

           infected. Furthermore, his shoulder pain continues to this day. In detention he was denied

           necessary medical care and medication. He was injected with unknown substances, without

           his consent, to make him compliant and to potentially induce confession. These injections



11
     Restatement (Second) of Torts §35 (Am. Law Inst. 1965).
12
     28 U.S.C. §1605A(a)(1) & (c); Valencia v. Islamic Republic of Iran, 774 F. Supp. 2d 1, 10-11 (D.D.C. 2010).


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             Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 10 of 13




           have had unknown health effects.

51.        Mr. Lakestani’s prolonged detention and torture further resulted in psychological suffering

           due to, inter alia, lack of medical care, inadequate nutrition, interrogations, physical

           distress, threats, intimidation and disorientation, and denial of due process. While in prison,

           Mr. Lakestani experienced severe depression. Today, he continues to suffer from

           depression in addition to a sleep disorder, nightmares, and post-traumatic stress disorder.

52.        Plaintiff seeks damages for this count to be calculated at trial.

                                           COUNT V
                                TORTURE UNDER THE TVPA
               Against Defendants: Seyed Ali Hosseini Khamenei and Hossein Salami

53.        Plaintiff incorporates by reference the allegations of the preceding paragraphs.

54.        The Torture Victim Protection Act of 1991 (“TVPA”) provides a civil right of action for

           individuals who have been subjected to torture or extrajudicial killing. “An individual who,

           under actual or apparent authority, or color of law, of any foreign nation subjects an

           individual to torture shall, in a civil action, be liable for damages to that individual.”13

55.        The TVPA defines torture as:

                    “[A]ny act, directed against an individual in the offender's custody or
                    physical control, by which severe pain or suffering (other than pain or
                    suffering arising only from or inherent in, or incidental to, lawful sanctions),
                    whether physical or mental, is intentionally inflicted on that individual for
                    such purposes as obtaining from that individual . . . information or a
                    confession, punishing that individual for an act that individual or a third
                    person has committed or is suspected of having committed, intimidating or
                    coercing that individual . . . and (2) mental pain or suffering refers to
                    prolonged mental harm caused by or resulting from (A) the intentional
                    infliction or threatened infliction of severe physical pain or suffering; (B)
                    the administration or application, or threatened administration or
                    application, of mind altering substances or other procedures calculated to
                    disrupt profoundly the senses or the personality; (C) the threat of imminent
                    death . . .”14

56.        Mr. Lakestani experienced severe pain and suffering, both physical and mental,

           intentionally inflicted upon him by Defendants during his detention. He was physically

           tortured through beatings, deprivation of food and water, and other methods, including the

           administration of undisclosed substances through injections without his consent. Mr.

           Lakestani was also psychologically tortured through threats of execution and the denial of

           access to legal counsel or contact with his family.

57.        There is significant and compelling evidence that Defendants tortured Mr. Lakestani to



13
     28 U.S.C. § 1350(2)(a)(1).
14
     28 U.S.C. § 1350(3)(b)(1).


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          Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 11 of 13




        both punish him for his activism work and beliefs that are contrary to the Iranian regime’s,

        and to compel him to present forced and falsified testimony against himself and other

        political activists.

58.     Exhaustion of local remedies under the TVPA should be waived where such attempts

        would be obviously futile. Therefore, Plaintiff seeks damages for this count for One

        Hundred Million USD ($50,000,000).

                                               COUNT VI
                                           LOSS OF PROPERTY

59.     Plaintiff incorporates by reference the allegations of the preceding paragraphs.

60.     The FSIA allows for recovery for “reasonably foreseeable property loss…by reason of the

        same acts on which the action…is based.” Specifically, Section 1605A(d) “contains two

        causation elements: (1) the property loss must come ‘by reason of’ the [hostage taking or

        torture], and (2) the property loss must be a ‘reasonably foreseeable’ result of [hostage

        taking or torture].”15

61.     As a result of his unlawful arrest, detention, and torture, Mr. Lakestani was unable to work

        and provide for himself or his family. This further caused him to incur significant expenses.

        Furthermore, ever since fleeing Iran while on temporary release, he has been unable to

        secure employment due to the severe physical and psychological suffering he continues to

        endure, caused by Defendants. These losses occurred “by reason of” and were a

        “reasonably foreseeable” result of his hostage taking and torture.

62.     Plaintiff seeks damages for this count.

                                                  COUNT VII

                                                  SOLATIUM

63.     Plaintiff incorporates by reference the allegations of the preceding paragraphs.

64.     Under the FSIA, a plaintiff may seek solatium damages, which “are functionally identical

        to claims for intentional infliction of emotional distress.”.16

65.     “An actor who by extreme and outrageous conduct intentionally or recklessly causes severe

        emotional harm to another is subject to liability for that emotional harm and, if the

        emotional harm causes bodily harm, also for the bodily harm.”17



15
   Oveissi v. Islamic Republic of Iran, 879 F. Supp. 2d 44, 57 (D.D.C. 2012).
16
   28 U.S.C. § 1605(A)(c)(4).; Spencer v. Islamic Republic of Iran, 71 F. Supp. 3d 23, 27 (D.D.C. 2014).
17
   Restatement (Third) of Torts: Liability for Physical & Emotional Harm §46.; See also Valencia, supra note 12, at
14; Acosta v. Islamic Republic of Iran, 574 F. Supp. 2d 15, 28 (D.D.C. 2008).


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          Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 12 of 13




66.     “All acts of terrorism are by their very definition extreme and outrageous and intended to

        cause the highest degree of emotional distress, literally, terror, in their targeted audience.”18

67.     Defendants’ conduct—including assault, battery, false imprisonment, hostage taking, and

        torture—caused Plaintiff to suffer severe emotional harm, including depression, post-

        traumatic stress disorder, a sleep disorder, nightmares, and erectile dysfunction, all of

        which he continues to suffer from today.

68.     Plaintiff seeks damages for this count to be calculated at trial.

                                              COUNT VIII
                                           PUNITIVE DAMAGES

69.     Plaintiff repeats and realleges each and every allegation set forth above with like effect as

        if alleged herein.

70.     The actions of Defendant the Islamic Republic of Iran, which has been committing,

        sponsoring, and supporting acts of international terror against international and domestic

        targets, have led to its decades-long designation by the U.S. Department of State as a State

        Sponsor of Terrorism.19

71.     The acts of Defendants, each carried out by Defendants’ agents as described above, were

        malicious, willful, unlawful and in wanton disregard of life and the standards of law that

        govern the actions of civilized nations. Plaintiff’s injuries as above described were intended

        as a result by Iran. In accordance with the provisions of 28 U.S.C. §1605A(c), the Plaintiff

        is thereby entitled to a maximal award of punitive damages to the fullest extent of the law.

72.     Iran, as a country with a history of human rights abuses and severe violations of

        international law, has caused the suffering of many who promote internationally acceptable

        norms and human rights. Many Iranians and foreigners, including Americans, have lost

        life, liberty, health, and property due to continued acts of terror conducted and/or supported

        by Iran.

73.     This case is among few bringing light to domestic acts of terror by Iran against human

        rights activists and those fighting the brutal regime of Iran. The punitive penalty of such

        activities should be so high as to prevent Iran from violating international human rights,

        taking hostages and torturing individuals. Iran has an indefensible record of human rights

        abuses; it has been condemned internationally by each and every United Nations


18
   Estate of Heiser v. Islamic Republic of Iran, 659 F. Supp. 2d 20, 27 (D.D.C. 2009) (quoting Stethem v. Islamic
Republic of Iran, 201 F. Supp. 2d 78, 89 (D.D.C. 2002)).
19
   See U.S. DOS, State Sponsors of Terrorism, https://www.state.gov/j/ct/list/c14151.htm.


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         Case 1:21-cv-02232-JMC Document 1 Filed 08/23/21 Page 13 of 13




       commission.

74.    Plaintiff prays that judgment be entered, jointly and severally, against Defendants in the

       amount of Five Hundred Million USD ($300,000,000).

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against all Defendants and respectfully

requests the following relief:

75.    Plaintiff is entitled to compensatory damages for assault and battery, false imprisonment,

       solatium, and other personal injury suffered as a result of the acts of hostage taking and

       torture committed by Defendants.

76.    Plaintiff is entitled to aggravated damages for Defendants’ cruelty and acts of torture and

       hostage taking.

77.    Plaintiff is entitled to economic damages for his loss of property due to his inability to

       obtain employment, further due to severe physical and psychological suffering caused by

       Defendants.

78.    Plaintiff is otherwise entitled to general damages and all other applicable damages.

79.    Punitive damages should be assessed (under 28 U.S.C. § 1605A(c)).

80.    The Court should award Plaintiff full costs and attorneys’ fees as incidental damages and

       as otherwise appropriate.

81.    The Court should grant such further and other relief as this Court deems just and proper.



Dated: 08/23/2021


                                                 Respectfully submitted,



                                                 __________________________
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                                               13
